           Case 1:18-vv-01605-UNJ Document 36 Filed 10/02/20 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1605V
                                        (not to be published)


    JIMMIE L. FOSTER,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: September 2, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Philip James Roth, Jr., Marshall, Roth & Gregory, P.C., Asheville, NC, for Petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On October 17, 2018, Jimmie L. Foster filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Shoulder Injury Related to Vaccine
Administration as a result of his October 19, 2015 influneza vaccination. (Petition at 1).
On June 10, 2020, a decision was issued awarding compensation to Petitioner based on
the parties’ stipulation. (ECF No. 27).




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:18-vv-01605-UNJ Document 36 Filed 10/02/20 Page 2 of 2




        Petitioner has now filed a motion for attorney’s fees and costs, dated June 23,
2020, (ECF No. 31), requesting a total award of $21,803.69 (representing $21,062.20 in
fees and $741.39 in costs). In accordance with General Order #9, Petitioner filed a signed
statement indicating that he incurred out-of-pocket expenses in the amount of $400.00.
(ECF No. 32). Respondent reacted to the motion on July 6, 2020 indicating that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case and defers to the Court’s discretion to determine the amount to be awarded.
(ECF No. 33). Petitioner did not file a reply thereafter.

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, Petitioner is awarded the total amount of $22,203.69 3 as
follows:

            •    A lump sum of $21,803.69, representing reimbursement for
                 attorney’s fees and costs, in the form of a check payable jointly to
                 Petitioner and Petitioner’s counsel and

            •    A lump sum of $400.00, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
